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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                               )
ANSLY DAMUS, et al., on behalf of              )
themselves and others similarly situated,      )
                                               )
               Plaintiffs,                     )
                                               )   Civil Action No. 1:18-cv-00578 (JEB)
               v.                              )
                                               )
KIRSTJEN NIELSEN, Secretary of the             )
Department of Homeland Security, in her        )
official capacity, et al.,                     )
                                               )
               Defendants.                     )
                                               )


            PLAINTIFFS’ MOTION AND SUPPORTING MEMORANDUM
                    FOR A FINDING OF CIVIL CONTEMPT




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                                       INTRODUCTION

       Plaintiffs seek a finding of civil contempt against the Los Angeles Field Office of

Immigration and Customs Enforcement (“ICE”), for ongoing violations of the preliminary

injunction in this case. In its July 2, 2018 preliminary injunction order, the Court held that five

ICE field offices — among them the Los Angeles Field Office — were likely violating the Parole

Directive and ordered them to comply with the Directive in adjudicating parole requests. Yet the

Los Angeles Field Office admits it has changed nothing in the way it conducts parole

determinations for asylum seekers since the preliminary injunction issued.

       Nor has its parole grant rate materially changed. In the months before the preliminary

injunction, the Los Angeles Field Office granted just 8% of parole requests. In the nine months

since this Court’s preliminary injunction has been in effect, the Field Office has granted a mere

14% of 242 parole requests. Indeed, the effective grant rate is even lower — around 11% —

because Defendants admit that 73 class members have not received parole determinations at all.

This grant rate remains far below the 85% parole grant rate that prevailed between 2011 and 2013.

The Los Angeles Field Office can provide no explanation or justification for this dramatic drop.

Moreover, the Field Office admits that it continues to engage in the very parole-review practices

— including denying parole on categorical grounds — that this Court identified as likely violations

of the Parole Directive.

       In the face of these facts, the Court should find that the Los Angeles Field Office is in

contempt of the preliminary injunction order. Plaintiffs do not move for contempt lightly.

Plaintiffs have asked Defendants to take specific steps at the Los Angeles Field Office (and the

other ICE field offices at issue in this case) to bring them into compliance with the preliminary

injunction. Defendants have refused. Plaintiffs have deposed a Los Angeles Field Office



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representative to determine whether the office has done anything since last July in an effort to

comply with the preliminary injunction. No such measures have been taken. And Plaintiffs have

waited nine months since the preliminary injunction issued to see if the parole grant rate in Los

Angeles would materially improve. It has not. Accordingly, Plaintiffs are left with no choice but

to file this contempt motion.1

                         FACTUAL AND PROCEDURAL HISTORY

       The Parole Directive2 provides that, absent exceptional circumstances, ICE should release

asylum seekers who establish their identity and show that they are neither a flight risk nor a danger

to the community. Between 2011 and 2013, the Los Angeles Field Office released 85% of asylum

seekers pursuant to this requirement. Ex. B, Declaration of Brooke Watson (“Watson Decl.”),

¶ 18. Between February and September 2017, however, the grant rate at the Los Angeles Field

Office fell to just 8%. Declaration of Anne Daher, ECF No. 11-12, ¶ 11.

               1.      The Preliminary Injunction Order

       The Court entered a class-wide preliminary injunction on July 2, 2018 based on this

dramatic drop in the parole grant rate in Los Angeles, comparable drops at the other four ICE field

offices in the case, and additional evidence reflecting violations of the Parole Directive.

Specifically, the Court enjoined Defendants from denying parole to a class member without an

individualized determination regarding the necessity of detention “based on the specific facts of

each provisional class member’s case.” PI Order, ECF No. 33, ¶ 4. The Court further required

Defendants to “conform to all of the substantive and procedural requirements of” the Parole


1
 This motion focuses exclusively on the Los Angeles Field Office because the evidence of its non-
compliance with the preliminary injunction is most stark. Plaintiffs have concerns with the other
ICE field offices at issue in the litigation as well, which may need to be addressed at a later time.
2
  ICE Directive No. 11002.1, Parole of Arriving Aliens Found to Have a Credible Fear of
Persecution or Torture (Dec. 8, 2009) (Ex. A).


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Directive. Id. ¶ 5. In so ruling, the Court found that Defendants were likely violating the Parole

Directive and that Plaintiffs faced irreparable harm from their continued unlawful detention. See

PI Mem. Op., ECF No. 34, at 24-37.

       As required by the Court, Defendants have filed monthly data reports reflecting the parole

grant rate for each of the five ICE field offices subject to the preliminary injunction. See Minute

Order, Aug. 28, 2018. Defendants’ most recent report dated March 24, 2019 reflects that, since

the preliminary injunction issued in July 2018, the Los Angeles Field Office has granted parole in

just 34 of 242 parole determinations (14%). See Defs.’ Status Report, Mar. 2019, ECF No. 72, at

2; Ex. B, Watson Decl., ¶ 10. Moreover, the Field Office has failed to conduct any parole

determination in 73 additional cases, meaning the effective grant rate is approximately 11%. See

id. This number is largely unchanged from the 8% grant rate during the first eight months of the

Trump Administration, but it differs dramatically from the 85% grant rate in prior years.

               2.      Compliance Discovery Reveals Ongoing Violations of the Preliminary
                       Injunction

       Given the evidence that Defendants were continuing to violate the Parole Directive,

Plaintiffs moved for limited discovery on the issue of preliminary-injunction compliance. On

October 22, 2018, the Court granted Plaintiffs’ request, finding that Plaintiffs “raised significant

questions of noncompliance.” Mem. Op., ECF No. 52, at 5. The Court ordered, inter alia, that

the Los Angeles Field Office and the other field offices each produce a witness able to testify about

steps taken by the relevant field office to comply with the preliminary injunction and the Parole

Directive. See Order, ECF No. 51.

       The Los Angeles Field Office designated Assistant Field Office Director Gabriel Anthony

Valdez as its witness. At his deposition on December 7, 2018, Valdez testified that the Los

Angeles Field Office had made no changes to its parole-review process since the preliminary


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injunction issued. When asked whether there has been “any change in the way the Los Angeles

Field Office has conducted parole determinations since the preliminary injunction,” Valdez said

“No.” See Ex. C at 133:8–11 (emphasis added). When asked whether there were “any changes to

the factors to be considered in parole determinations after the preliminary injunction,” Valdez

again said “No.” See id. at 159:17–160:18 (emphasis added). Valdez also admitted that he and

his field office had provided no training to staff on the requirements of the preliminary injunction.

See id. at 66:2–10.    Remarkably, far from implementing any changes to comply with the

preliminary injunction, Valdez testified that, after the preliminary injunction issued, he told his

staff handling parole determinations to “[d]o what you always do.” Id. at 66:11–67:16 (emphasis

added).3

       In addition to testifying that the Los Angeles Field Office has made no changes to its

practices, Valdez confirmed the Office’s continuing application of parole-review practices that

clearly violate the Parole Directive and the Court’s preliminary injunction. Valdez admitted that

the Field Office categorically denies parole to asylum seekers who elude immigration controls

when entering the United States or use falsified documents, even though asylum seekers must often

do this to escape persecution at home. See id. at 195:17–196:22. Valdez also acknowledged that

the Los Angeles Field Office categorically denies parole requests from asylum seekers who do not

present original identity documents. See id. at 177:1-4.




3
  Valdez also confirmed that the Los Angeles Field Office has made no changes in a host of other
areas since the preliminary injunction issued. It has not changed its practices concerning when
alternatives to detention or bond are considered or used, see id. at 160:19–161:2. It has not changed
its practices regarding how supervisors review parole determinations by line officers. See id. at
162:12–16. And it has not changed its practices concerning how the Field Office notifies parole
applicants of their parole determinations. See id. at 293:13–15.

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       Valdez likewise testified that he was not aware of any steps taken by the Los Angeles Field

Officer Director to monitor and oversee the parole decision-making process and the Office’s

overall compliance with the Parole Directive, as the Directive requires. See id. at 300:13-301:5,

307:18–308:22.

       Finally, Valdez could not explain why the Los Angeles Field Office’s parole grant rate

since the preliminary injunction issued remains dramatically below the 85% grant rate from earlier

years, under the same Parole Directive it was ordered to follow. When asked why the precipitous

drop occurred, Valdez responded “I don’t know.” See id. at 114:10-115:16 (emphasis added).

               3.     Defendants Refuse to Take Any Steps to Ensure Compliance with the
                      Preliminary Injunction

       At a status conference on February 7, 2019, Plaintiffs raised concerns about the failure of

the Los Angeles Field Office and the other field offices at issue in the case to comply with this

Court’s preliminary injunction order. See Ex. D, Hearing Tr. 12:8-20:24. The Court similarly

raised concerns about Defendants’ compliance, asking in particular for Defendants to explain why

the Court should not be troubled when ICE’s witnesses testified that nothing had changed since

the preliminary injunction issued. See id. at 21:2-6, 22:10-23:7.

       On February 25, 2019, following the status conference, the parties conferred about steps

Defendants might take to address the Court’s concerns. Plaintiffs requested that Defendants take

the following specific steps to comply with the preliminary injunction: (1) provide training on the

Parole Directive and the preliminary injunction for ICE personnel involved in the parole process,

in accordance with paragraph 7.3(5) of the Parole Directive; (2) establish an ongoing quality

assurance audit process to ensure compliance with all terms of the Parole Directive, in accordance

with paragraphs 6.3, 7.2(3), 7.3(1), 8.11, and 8.12 of the Parole Directive; (3) when parole is

denied, provide an individualized explanation of the reason(s) for such denial, in accordance with


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paragraph 6.5 of the Parole Directive; and (4) appoint a compliance monitor to oversee appropriate

implementation of these measures. See Ex. E (Feb. 18, 2019 email from P. Levitz).

       Defendants refused to take any of these steps in any field office. Moreover, Defendants

proposed no alternative measures to bring the field offices into compliance with the Parole

Directive and the preliminary injunction. On March 24, 2019, Defendants filed their monthly

report reflecting parole grant rates since the preliminary injunction issued. See Defs.’ Status

Report, March 2019, ECF No. 72, at 2. As noted, the report reflects that the effective grant rate in

Los Angeles since July remains just 11%.

                                      LEGAL STANDARD

       Courts have “inherent power to enforce compliance with their lawful orders through civil

contempt.” Shillitani v. United States, 384 U.S. 364, 370 (1966). A party moving for civil

contempt must prove by clear and convincing evidence that “(1) there was a [clear and

unambiguous] court order in place; (2) the order required certain conduct by the defendant; and

(3) the defendant failed to comply with that order.” Int’l Painters & Allied Trades Indus. Pension

Fund v. ZAK Architectural Metal & Glass LLC, 736 F. Supp. 2d 35, 38 (D.D.C. 2010) (citations

omitted). When establishing non-compliance with the court order, the moving party need not

demonstrate bad faith or intentional violations. See McComb v. Jacksonville Paper Co., 336 U.S.

187, 191 (1949); National Labor Relations Board v. Blevins Popcorn Co., 659 F.2d 1173, 1183

(D.C. Cir. 1981).




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                                           ARGUMENT

I.     THE LOS ANGELES FIELD OFFICE IS IN CONTEMPT OF THE
       PRELIMINARY INJUNCTION.

       A.      The Preliminary Injunction Imposes Clear and Unambiguous Requirements.

       The Court’s preliminary injunction order is clear and unambiguous. It (1) requires

individualized parole reviews for all class members “based on the specific facts of each provisional

class member’s case”; and (2) requires Defendants to provide class members with “parole

determinations that conform to all of the substantive and procedural requirements of” the Parole

Directive. PI Order, ECF No. 33, ¶¶ 3-5.

       B.      The Los Angeles Field Office Is Not Complying with the Clear Requirements
               of the Preliminary Injunction Order.

               1.      The Los Angeles Field Office Has Not Changed Its Parole Practices Since
                       the Preliminary Injunction Issued; Nor Has Its Grant Rate Materially
                       Changed.

       The Los Angeles Field Office is violating these clear requirements. Notwithstanding the

Court’s holding that the Los Angeles Field Office is likely in violation of the Parole Directive,

Assistant Field Office Director Valdez testified that the Field Office made no changes to its parole-

review practices following the preliminary injunction. See supra pp. 3-4. To the contrary, office

personnel were instructed to “[d]o what you always do.” Ex. C at 66:11-67:16 (emphasis added).

       The Los Angeles Field Office’s failure to modify its parole-review practices in response to

the preliminary injunction constitutes civil contempt. The court addressed a comparable situation

in Melendres v. Arpaio, 2016 WL 2783715 (D. Ariz. May 13, 2016), aff’d sub nom. Melendres v.

Maricopa Cty., 897 F.3d 1217 (9th Cir. 2018). There, the court held defendants in civil contempt

because “[a]fter the preliminary injunction was entered, no changes were made to the [Maricopa

County Sheriff’s Office]’s active enforcement of immigration laws, nor to its policies, practices,

or operations related to immigration enforcement.” Id. at *3. The court relied on testimony that


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“nothing at all changed about the way they conducted business after the Court order.” Id. (internal

quotation marks and citation omitted). Similarly, in Powell v. Ward, 643 F.2d 924 (2d Cir. 1981),

the court of appeals affirmed the district court’s finding that defendants were in contempt where

they “concede[d] that they made no effort to institute the procedures set forth in the [preliminary

injunction] Order.” Id. at 932-33. Likewise, here, the Court should find that the Los Angeles Field

Office’s failure to make any changes in response to the preliminary injunction order constitutes

civil contempt.

       Parole data from Defendants’ monthly status reports confirms that the Los Angeles Field

Office is not complying with the preliminary injunction. Defendants’ most recent report shows

that, since the Court issued the preliminary injunction, the Los Angeles Field Office has an

effective parole grant rate of 11%. See Defs.’ Status Report, ECF No. 72, at 2. That is dramatically

below the 85% grant rate just a few years ago, and hardly changed from the 8% grant rate during

the first eight months of the Trump Administration. Declarations from legal practitioners in the

Los Angeles Field Office confirm that asylum seekers with similar, or even stronger, parole

applications than those of others who were granted parole before 2017 have routinely been denied

parole since the preliminary injunction. See Ex. F, Supplemental Declaration of Madelaine Behr,

¶¶ 4-5; Ex. G, Declaration of Joyce Noche, ¶¶ 6-7; Ex. H, Declaration of Monica Glicken, ¶¶ 6-8;

see also Ex. I, Supplemental Declaration of Elizabeth Hercules-Paez, ¶¶ 3-7 (Los Angeles Field

Office still denying parole to applicants who plainly qualify for parole under the Directive);

Declaration of Rafael Reyneri, ECF No. 41-5, ¶¶ 4-5, 7-8 (similar); Declaration of Troy E. Elder,

ECF No. 41-6, ¶¶ 4, 9 (similar).

       A contempt order is appropriate where, as here, outcomes do not meaningfully change

based on a court order to comply with the law, particularly when weighty interests — such as



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Plaintiffs’ interest in avoiding unlawful detention — are at stake. See, e.g., Fortin v. Comm’r of

Mass. Dep’t of Pub. Welfare, 692 F.2d 790, 793-95 (1st Cir. 1982) (affirming finding that

defendant was in contempt of consent decree requiring timely processing of applications for

subsistence-level benefits, where rate of timely processing increased from 66.8% to 79% for one

program and from 52.5% to 87% for another program after entry of consent decree).

               2.      The Los Angeles Field Office Continues to Violate Specific Requirements
                       of the Parole Directive.

       Evidence from Defendants’ own status reports and testimony also demonstrates that the

Los Angeles Field Office continues to violate specific provisions of the Parole Directive and

preliminary injunction order.

       First, Defendants’ latest status report reflects that some 73 class members — nearly a

quarter of all class members in the Los Angeles Field Office — have not received any parole

determination, in many cases after being detained for months. See Defs.’ Status Report, March

2019, ECF No. 72, at 2 & ECF No. 75-3; Ex. B, Watson Decl. ¶ 8. This ongoing detention without

a parole determination plainly violates the preliminary injunction requirement that all provisional

class members receive parole determinations. See PI Order, ECF No. 33, ¶ 5. It also violates the

specific Parole Directive requirement that class members normally “must” have a parole interview

“no later than seven days” following a credible fear finding, and “shall” receive “[w]ritten

notifications of parole decisions . . . within seven days” of the parole interview. Ex. A, §§ 6.6, 8.2.

       Second, the Los Angeles Field Office categorically denies parole to asylum seekers based

on manner of entry into the United States. Assistant Field Office Director Valdez testified that

attempts to “elude immigration controls” when entering the United States “will result in flight risk

with no ability to mitigate” and that “[t]hose are absolutes for us.” Ex. C at 195:17–196:22. Valdez

further testified that the Los Angeles Field Office categorically denies parole to anyone who


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“use[d] falsified documents in an attempt to enter the U.S.” Id.4 Both the Parole Directive and

the preliminary injunction, however, expressly require Defendants to conduct “individualized

determinations of flight risk and danger” for each class member, and forbid such categorical

practices. See PI Order, ECF No. 33, at 1; PI Mem. Op., ECF No. 34, at 34-35; Ex. A, § 6.2.

       Third, the Los Angeles Field Office categorically denies parole to asylum seekers who do

not provide original documentation to establish their identities. See Ex. C at 177:1-4. This violates

section 8.3(1)(d)-(e) of the Parole Directive, which expressly permits asylum seekers to establish

their identities without original documentation. Ex. A, § 8.3(1)(d)-(e); see also id., § 8.3(1)(a)

(recognizing that “many individuals who arrive in the United States fleeing persecution or torture

may understandably lack valid identity documentation”).

       Fourth, the Los Angeles Field Office continues to use the same boilerplate forms it used

before the preliminary injunction issued to inform asylum seekers of parole denials, even though

those forms do not explain why the asylum seeker has been denied parole. See, e.g., Ex. C at

293:13–15. This violates the Parole Directive’s requirement that ICE provide in writing a “brief

explanation of the reasons for any decision to deny parole.” Ex. A, § 6.5.5

       Fifth, the Los Angeles Field Office is not conducting the oversight and monitoring of

compliance required by several sections of the Parole Directive. Assistant Field Office Director



4
  Compare Mamouzian v. Ashcroft, 390 F.3d 1129, 1138 (9th Cir. 2004) (“When a petitioner who
fears deportation to his country of origin uses false documentation . . . in order to gain entry to a
safe haven, that deception does not detract from but supports his claim of fear of persecution.”);
Huang v. I.N.S., 436 F.3d 89, 100 (2d Cir. 2006) (similar).
5
  Defendants have claimed that the checkboxes they provide for “identity,” “flight risk,” and
“dangerousness” are sufficient to meet the Parole Directive’s requirement. See Joint Status Report,
ECF No. 60, at 10. These checkboxes, however, only identify purported “reasons” for denials;
they do not provide the requisite “explanation of the reasons.” Ex. A, Parole Directive, § 6.5
(emphasis added). Further, these form denial letters offer virtually no information to an applicant
who wants to request a redetermination. See id.

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Valdez testified that he was unaware of any efforts by ICE to oversee the parole-decision process

in Los Angeles or ensure considered, consistent parole decision-making and recordkeeping, as

required by Parole Directive §§ 7.1-7.2. See Ex. C at 307:18–308:22. Valdez also testified that

he was unaware of any systematic quality assurance process at the Los Angeles Field Office. He

instead recalled only sporadic “times when the field office director has had deputy field office

directors come out to my office and help review some of the paroles just so they remain familiar

with it,” and not since at least 2016 — well before the preliminary injunction. Id. at 300:13–301:5.

This violates various provisions of the Parole Directive that mandate implementation of quality

assurance processes. See Ex. A, §§ 6.3, 7.2(3), 7.3(1), 8.11, 8.12.

       Because the Los Angeles Field Office has taken no steps to comply with the preliminary

injunction and continues to violate clear substantive and procedural requirements of the injunction

and the Parole Directive, the Court should find that it is in contempt.

II.    THE COURT SHOULD ORDER TARGETED REMEDIAL MEASURES TO
       ADDRESS THE LOS ANGELES FIELD OFFICE’S CONTEMPT.

       Civil contempt “is characterized as remedial in nature, [and is] used to obtain compliance

with a court order.” United States v. Latney’s Funeral Home, Inc., 41 F. Supp. 3d 24, 29 (D.D.C.

2014) (internal citations omitted).    Courts have “wide discretion” in imposing appropriate

sanctions to assure compliance. Id. at 36 (internal quotation marks and citation omitted). Plaintiffs

respectfully submit that the following targeted remedial measures (many required by the Parole

Directive itself) should be imposed here to bring the Los Angeles Field Office into compliance

with the preliminary injunction order and the Parole Directive.

       Training

       First, the Los Angeles Field Office must provide formal training to all personnel involved

in the parole process on how to conduct parole determinations consistent with the preliminary


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injunction and the Parole Directive. The Parole Directive requires field office directors to

“[e]nsur[e] that [E]RO field personnel . . . assigned to make parole determinations are familiar

with this directive and corresponding legal authorities.” Ex. A, § 7.3(5). Assistant Field Office

Director Valdez testified, however, that the Los Angeles Field Office has taken no steps to provide

training to staff on the requirements of the preliminary injunction. See Ex. C at 66:2–10. This

Court should order that the Field Office provide training, as required by the Directive. Indeed,

even without a specific training requirement like that contained in the Directive, courts have

ordered training as an appropriate remedy for civil contempt. See, e.g., Melendres v. Arpaio, 2016

WL 3996453, at *1, 13-14 (D. Ariz. July 26, 2016), aff’d sub nom. Melendres v. Maricopa Cty.,

897 F.3d 1217 (9th Cir. 2018).

       Quality Assurance

       Second, the Los Angeles Field Office must implement a quality assurance audit process to

ensure full compliance with the Parole Directive. The Parole Directive requires field offices to

implement such quality assurance. See Ex. A, § 8.11-8.12. Assistant Field Office Director Valdez

testified, however, that the Los Angeles Field Office has not implemented a regular quality

assurance process, despite this requirement. See Ex. C at 300:13-301:5. It should be required to

do so now. Courts have imposed even more invasive auditing as a remedy for civil contempt. See,

e.g., Oil Chemical and Atomic Workers Int’l Union AFL-CII v. NLRB, 547 F.2d 575, 596-97 (D.C.

Cir. 1976) (ordering defendants to “[p]reserv[e] and mak[e] available to the [National Labor

Relations] Board upon request, for examination and copying, all the Company’s correspondence,

books, records and other documents necessary or useful to determine the amounts due to make

whole the employees”).




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        Individualized Explanations of Parole Decisions

        Third, the Los Angeles Field Office must provide individualized explanations for parole

denials beyond a checked box. As noted, section 6.5 of the Parole Directive requires that field

offices “provide every alien subject to this directive with written notification of the parole decision,

including a brief explanation of the reasons for any decision to deny parole.” Ex. A, § 6.5. Without

such an explanation, Plaintiffs have no means to verify whether the Los Angeles Field Office has

actually considered their evidence on an individualized basis, or to learn the information necessary

for an effective reconsideration request. Assistant Field Office Director Valdez testified, however,

that the Los Angeles Field Office continues to use boilerplate forms for parole denials that do not

explain why the asylum seeker has been denied parole. See, e.g., Ex. C at 293:13–15. In light of

this violation of section 6.5, the Court should require the Los Angeles Field Office to provide

individualized explanations of the reason(s) for any parole denial — not just a checked box in a

parole-denial letter.

        Appointment of a Special Master

        Fourth, the Court should appoint a special master to oversee the implementation of the

above measures and report to the Court concerning such implementation. The Los Angeles Field

Office has refused to take action on its own to comply with the Parole Directive and the preliminary

injunction. Instead, it has elected to continue without modification the very same practices that

prompted the Court to enter a preliminary injunction. In these circumstances, it is appropriate for

the Court to appoint an independent party to ensure compliance.

        The Court has “inherent power” to appoint special masters “for the administration of justice

when deemed by it essential.” In re Peterson, 253 U.S. 300, 312 (1920). Consistent with this

authority, courts have appointed special masters where a party has violated a court order, including



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to ensure compliance with a preliminary injunction. See, e.g., Nat’l Org. for the Reform of

Marijuana Laws v. Mullen, 828 F.2d 536 (9th Cir. 1987) (as remedy for contempt of preliminary

injunction, court appointed special master to monitor compliance); Powell v. Ward, 487 F. Supp.

917, 935 (S.D.N.Y. 1980), aff’d and modified, 643 F.2d 924 (2d Cir. 1981) (same); see also

Blackman v. D.C., 185 F.R.D. 4, 7 (D.D.C. 1999) (appointing special master where “defendants’

liability already has been established and the District cannot plausibly argue that it currently is in

compliance”). The Court should likewise do so here.

       Specifically, the Court should appoint a special master empowered to:

           •   Supervise the Los Angeles Field Office’s training efforts, including developing and

               (as needed) attending or leading trainings, and setting and monitoring benchmarks

               for ensuring that all personnel involved in parole determinations are trained;

           •   Oversee development and implementation of quality assurance processes,

               including by assisting the Field Office in developing quality assurance metrics and

               receiving periodic reports on implementation of those metrics;

           •   Monitor the requirement of individualized explanations for parole denials,

               including through authority to (1) review class members’ parole denials for

               consideration of the applicant’s individual circumstances and sufficiency of

               explanations; and (2) require the Field Office to provide reconsiderations or further

               explanation where parole denials are deemed insufficient;

           •   Request and investigate documents in individual cases, including in cases in which

               parole determinations have not been issued; and

           •   Serve as an ombudsperson for local immigration providers to report potential

               violations of the preliminary injunction and Parole Directive.



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       The special master also should issue regular reports to the Court concerning the Los

Angeles Field Office’s compliance efforts, specifying what training has been provided to which

personnel; the quality assurance measures planned and/or instituted and the results of such

measures; and any other information the special master deems pertinent.6

                                         CONCLUSION

       The Los Angeles Field Office admits that it has not changed the way it conducts parole

determinations since the preliminary injunction issued. The parole grant rate in Los Angeles

remains dramatically lower than it was just a few years ago — a drop that the Field Office cannot

justify or explain. And the evidence reflects that the Los Angeles Field Office continues to violate

specific important provisions of the Parole Directive. As a result of these violations, hundreds of

class members are suffering irreparable harm from unlawful detention. The Court should thus

hold the Los Angeles Field Office in contempt of the preliminary injunction order and impose the

remedial measures outlined above.




6
  Should the Court determine not to appoint a special master at this time, Plaintiffs respectfully
submit that the Los Angeles Field Office should be required to submit periodic reports directly to
the Court concerning its compliance efforts.


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Dated: April 11, 2019                         Respectfully submitted,

                                              /s/ Philip J. Levitz

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                                CERTIFICATE OF SERVICE

       I certify that, on April 11, 2019, I electronically transmitted the attached motion and
accompanying exhibits using the CM/ECF system for filing and transmittal of a Notice of
Electronic Filing to all CM/ECF registrants for this case.


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